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          DJDLQVW                    &U 96% 
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&+5,6723+(5&2//,16                       
&$0(521&2//,16DQG                                
67(3+(1=$56.<
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    0(025$1'802)/$:,168332572)&+5,6723+(5&2//,16¶
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        $       &RQJUHVVPDQ&ROOLQV¶5HODWLRQVKLSZLWK,QQDWHDQGWKH
                  &RQJUHVVLRQDO,QTXLU\6SXUUHGE\&RPSODLQWV'HULYHGIURPWKDW
                  5HODWLRQVKLS

        %       7KH*RYHUQPHQW¶V,QYHVWLJDWLRQDQG,WV,QWHUVHFWLRQZLWK
                  &RQJUHVVPDQ&ROOLQV¶2IILFH6WDIIDQGWKH$FWLYLWLHVRIWKH
                  +RXVHRI5HSUHVHQWDWLYHV

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        $       7KH6SHHFKRU'HEDWH&ODXVH3URWHFWVWKH/HJLVODWXUH$JDLQVW
                  ,QYDVLRQE\WKH([HFXWLYHDQG6KLHOGV/HJLVODWLYH$FWLYLWLHVIURP
                  'LVFRYHU\

        %       7KH6SHHFKRU'HEDWH&ODXVH3URYLGHVIRU%RWK,PPXQLW\IURP
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        &       7KH3URVHFXWLRQ¶V,QYHVWLJDWLRQ:DV)XUWKHUHG,Q3DUWRQWKH
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        '       7KH3URVHFXWLRQ5HOLHG2Q6SHHFKRU'HEDWH&ODXVH3URWHFWHG
                  $FWLYLWLHVWR%ULQJWKH&KDUJHV$OOHJHGLQWKH,QGLFWPHQW

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        (       7KH&RQVWLWXWLRQDO9LRODWLRQV*LYH5LVHWR*UDYH&RQFHUQV

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        $       $Q2UGHU0DQGDWLQJ3URGXFWLRQLV:DUUDQWHGE\WKH
                  *RYHUQPHQW¶V5HIXVDOWR3URGXFH,QIRUPDWLRQ1HFHVVDU\WR
                  (QDEOH&RQJUHVVPDQ&ROOLQVWR)LOH(IIHFWLYH0RWLRQV5HJDUGLQJ
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&DVHV

Brown & Williamson Tobacco Corp. v. Williams
   )G '&&LU 

Doe v. McMillan
   86  

Eastland v. United States Servicemen’s Fund
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In re Fattah
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Favors v. Cuomo
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Fields v. Office of Johnson
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In re Grand Jury Subpoena
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In re Grand Jury Subpoenas
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Gravel v. United States
   86  

Howard v. Office of Chief Admin. Officer of U.S. House of Reps.
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Kilbourn v. Thompson
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Rangel v. Boehner
   )6XSSG ''& aff’d )G '&&LU 

Ray v. Proxmire
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Securities and Exchange Comm’n v. Committee on Ways and Means of the U.S.
   House of Reps.
   )6XSSG 6'1< 



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Tohono O’odham Nation v. Ducey
   1RFY:/ '$UL]-XQH 

United States v. Bradshaw
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United States v. Brewster
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United States v. Campagnuolo
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United States v. Doe
   )G VW&LU 

United States v. Durenberger
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United States v. Eilberg
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United States v. Green
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United States v. Helstoski
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United States v. Helstoski
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United States v. Johnson
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United States v. Myers
   )G G&LU 

United States v. Rayburn House Office Building
   )G '&&LU cert. denied86  passim

United States v. Renzi
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United States v. Rose
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United States v. Rostenkowski
   )G '&&LU 


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United States v. Stevens
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United States v. Stewart
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United States v. Swindall
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United States v. Valona
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       A.      Congressman Collins’ Relationship with Innate, and the Congressional Inquiry
               Spurred by Complaints Derived from that Relationship

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SODFHPHQWVGXULQJ,QQDWHIXQGUDLVLQJURXQGV2QHVXFKLQYHVWRUZDVWKHWKHQ0HPEHUIURP

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KLQGHUWKHFRQILUPDWLRQ8QMXVWLILHGDVLWZDVWKHVFUXWLQ\RQ,QQDWH¶VSULYDWHSODFHPHQWVOHG

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GLVFRXQWHG,QQDWHVWRFNWKDWZDVQRWDYDLODEOHWRWKHSXEOLFDQGZDVRIIHUHGWRKLPEDVHGRQKLV

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       B.      The Government’s Investigation and Its Intersection with Congressman Collins’
               Office, Staff, and the Activities of the House of Representatives

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       7KURXJKPDWHULDOVSURGXFHGLQGLVFRYHU\WKHJRYHUQPHQWKDVVKHGVRPHOLJKWDOEHLW

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VDIHJXDUGWKH6SHHFKRU'HEDWHSULYLOHJH$OWKRXJKWKHJRYHUQPHQWKDVLGHQWLILHGVRPHVWDIIHUV

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KLVFRXQVHODQGWRWKHEHVWRIFRXQVHO¶VNQRZOHGJHWKH2IILFHRI*HQHUDO&RXQVHORIWKH+RXVH

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LQIRUPDWLRQREWDLQHGRUHOLFLWHGE\WKHJRYHUQPHQWIURPFXUUHQWRUIRUPHU&RQJUHVVLRQDOVWDII

           :KLOHWKHJRYHUQPHQWPD\KDYHUHFNOHVVO\LJQRUHGWKHSURWHFWLRQVRIWKH6SHHFKRU

'HEDWHSULYLOHJHGXULQJLWVLQYHVWLJDWLRQLWLQWHQWLRQDOO\LQFOXGHGDOOHJDWLRQVDERXWWKH2&(

SURFHHGLQJVLQWKHLQGLFWPHQW7KHLQGLFWPHQWH[SOLFLWO\DOOHJHVWKDW&RQJUHVVPDQ&ROOLQVFRXOG

QRWWUDGHRQKLVRZQEHKDOILQSDUWEHFDXVHRIRQJRLQJ+RXVHDFWLYLWLHV LHWKH(WKLFVLQTXLU\ 

LQFOXGLQJWKH&RQJUHVVPDQ¶VLQWHUYLHZE\WKH2&(7KHLQFOXVLRQRIVXFKDOOHJDWLRQVLQWKH

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 ,QRQHLQVWDQFHWKHJRYHUQPHQWSURGXFHGLQGLVFRYHU\PDWHULDOVIURPDIRUPHUPHPEHURI&RQJUHVVPDQ&ROOLQ¶
VWDII&RXQVHOLGHQWLILHGWRWKHJRYHUQPHQWWKDWWKHGRFXPHQWVFRQWDLQHGLQIRUPDWLRQSRWHQWLDOO\SURWHFWHGE\WKH
DWWRUQH\FOLHQWSULYLOHJH7KHJRYHUQPHQWWKHUHDIWHUDJUHHGWRGHVWUR\FRSLHVRIFHUWDLQGRFXPHQWV



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LQGLFWPHQWUDLVHVVHULRXVFRQFHUQVDERXWZKHWKHUFRQVWLWXWLRQDOO\SULYLOHJHGLQIRUPDWLRQZDV

SUHVHQWHGWRWKHJUDQGMXU\LQRUGHUWRUHWXUQWKHLQGLFWPHQWDQGZKHWKHUWKHJRYHUQPHQWLQWHQGV

WRUHO\RQVXFKSULYLOHJHGLQIRUPDWLRQLQLWVFDVHLQFKLHIDWWULDO$IWHUILOLQJWKHFKDUJHVWKH

JRYHUQPHQWGRXEOHGGRZQRQWKHDOOHJDWLRQVFRQFHUQLQJWKH2&(SURFHHGLQJVE\VSHFLILFDOO\

KLJKOLJKWLQJWKLVSXUSRUWHGFDXVHDQGHIIHFWLQDSUHVVUHOHDVHDQGSUHVVFRQIHUHQFHWKHGD\

FKDUJHVZHUHDQQRXQFHG*LYHQWKDWWKHJRYHUQPHQW¶VFKDUJHVDUHSUHGLFDWHGRQWKHH[LVWHQFHRI

DFRQVSLUDF\LWDSSHDUVWKDWVXFKULGLFXORXVDOOHJDWLRQVDUHDNH\FRPSRQHQWRIWKHFDVHWKH

JRYHUQPHQWKDVEURXJKW&RQJUHVVPDQ&ROOLQVFRXOGQRWWUDGHKLPVHOI EHFDXVHRIWKH2&(

SURFHHGLQJ VRKHDOOHJHGO\FRQVSLUHGZLWKDQGWLSSHGKLVVRQ

        1RWZLWKVWDQGLQJWKHUHTXHVWRIFRXQVHOWKHJRYHUQPHQWKDVUHIXVHGWRSURYLGH

LQIRUPDWLRQWKDWZRXOGVKHGOLJKWRQWKHH[WHQWWRZKLFKLWHQFRXQWHUHGDQGXVHGOHJLVODWLYH

PDWHULDOVLQWKHLQYHVWLJDWLYHDQGJUDQGMXU\VWDJHVDVGHWDLOHGDERYH$FFRUGLQJO\LWKDVEHHQ

LPSRVVLEOHWRSUREHWKHQDWXUHDQGVFRSHRIDQ\FRQWDPLQDWLRQZKLFKSUHYHQWV&RQJUHVVPDQ

&ROOLQVIURPHIIHFWLYHO\OLWLJDWLQJPRWLRQVSUHPLVHGXSRQWKHYLRODWLRQRIWKH6SHHFKRU'HEDWH

&ODXVHSULYLOHJH

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        A.      The Speech or Debate Clause Protects the Legislature Against Invasion by the
                Executive and Shields Legislative Activities from Discovery

       7KH6SHHFKRU'HEDWH&ODXVHSURYLGHVWKDW³IRUDQ\6SHHFKRU'HEDWHLQHLWKHU+RXVH

>6HQDWRUVDQG5HSUHVHQWDWLYHV@VKDOOQRWEHTXHVWLRQHGLQDQ\RWKHU3ODFH´86&RQVWDUW,

FO)LQGLQJURRWVLQWKH(QJOLVK%LOORI5LJKWVRIWKH&ODXVHEDUVH[HFXWLYHRUMXGLFLDO




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LQWUXVLRQVLQWRWKHOHJLVODWLYHSURFHVVDQGVHHNVWRPDLQWDLQWKHHVVHQWLDODXWRQRP\RI&RQJUHVV

Gravel v. United States86   ³7KH6SHHFKRU'HEDWH&ODXVHZDV

GHVLJQHGWRDVVXUHDFRHTXDOEUDQFKRIWKHJRYHUQPHQWZLGHIUHHGRPRIVSHHFKGHEDWHDQG

GHOLEHUDWLRQZLWKRXWLQWLPLGDWLRQRUWKUHDWVIURPWKH([HFXWLYH%UDQFK,WWKXVSURWHFWV0HPEHUV

DJDLQVWSURVHFXWLRQVWKDWGLUHFWO\LPSLQJHXSRQRUWKUHDWHQWKHOHJLVODWLYHSURFHVV´ ; accord

United States v. Brewster86   GHVFULELQJWKHSXUSRVHDV³WRSUHVHUYHWKH

LQGHSHQGHQFHDQGWKHUHE\WKHLQWHJULW\RIWKHOHJLVODWLYHSURFHVV´ Fields v. Office of Johnson

)G '&&LU  en banc  ³7KH6SHHFKRU'HEDWH&ODXVHUHLQIRUFHVWKH

VHSDUDWLRQRISRZHUVDQGSURWHFWVOHJLVODWLYHLQGHSHQGHQFH´ 7KHHIIHFWWKHUHIRUHLV

³UHLQIRUFH>PHQWRI@WKHVHSDUDWLRQRISRZHUVVRGHOLEHUDWHO\HVWDEOLVKHGE\WKH)RXQGHUV´

Eastland v. United States Servicemen’s Fund86  

            7KLVLVDFRUHLQVWLWXWLRQDOSURWHFWLRQPDQGDWHGE\WKH&RQVWLWXWLRQIRUWKHEHQHILWRI

&RQJUHVVDQGQRWPHUHO\RQHSURYLGHGIRULQGLYLGXDO0HPEHUVRI&RQJUHVVUnited States v.

Myers)G G&LU  ³>7@KH6SHHFKRU'HEDWH&ODXVHVHUYHVDVD

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/HJLVODWLYH%UDQFKQRWPHUHO\IRUWKHEHQHILWRI0HPEHUVRI&RQJUHVVEXWPRUHLPSRUWDQWO\

IRUWKHULJKWRIWKHSHRSOHWREHIXOO\DQGIHDUOHVVO\UHSUHVHQWHGE\WKHLUHOHFWHG6HQDWRUVDQG

&RQJUHVVPHQ´ ,WPXVWEHUHDGEURDGO\WRHIIHFWXDWHLWVSXUSRVHJohnson86DW

:KHUHWKHSULYLOHJHDSSOLHVWKHSURWHFWLRQLV³DEVROXWH´Eastland86DWIRUWKDWFODVV


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 0RUHVSHFLILFDOO\WKH&ODXVHZDVURRWHGLQWKHVWUXJJOHIRUSDUOLDPHQWDU\LQGHSHQGHQFHRIWKHVL[WHHQWKDQG
VHYHQWHHQWKFHQWXULHVLQ(QJODQGGXULQJZKLFK³VXFFHVVLYHPRQDUFKVXWLOL]HGWKHFULPLQDODQGFLYLOODZWRVXSSUHVV
DQGLQWLPLGDWHFULWLFDOOHJLVODWRUV´United States v. Johnson86  

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 7KH)UDPHUVH[SHFWHGWKDWWKHSULYLOHJHZRXOGSURYLGH³SUDFWLFDOVHFXULW\´DVDVKLHOGDJDLQVWWKHRWKHUEUDQFKHV
DQGWKHUHE\³SURWHFW>@DJDLQVWSRVVLEOHSURVHFXWLRQE\DQXQIULHQGO\H[HFXWLYHDQGFRQYLFWLRQE\DKRVWLOH
MXGLFLDU\´See also, Johnson86DW TXRWLQJ7KH)HGHUDOLVW1R -DPHV0DGLVRQ 



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RI³OHJLVODWLYHDFWV´XQGHUWDNHQDVSDUWRIWKHOHJLVODWLYHSURFHVVGravel86DW,Q

WXUQVXFKSULYLOHJHGDFWVDUHGHILQHGDVWKRVHZKLFKDUH³DQLQWHJUDOSDUWRIWKHGHOLEHUDWLYHDQG

FRPPXQLFDWLYHSURFHVVHVE\ZKLFK0HPEHUVSDUWLFLSDWHLQFRPPLWWHHDQG+RXVHSURFHHGLQJV

ZLWKUHVSHFWWRWKHFRQVLGHUDWLRQDQGSDVVDJHRUUHMHFWLRQRISURSRVHGOHJLVODWLRQor with respect

to other matters which the Constitution places within the jurisdiction of either House.´Id.DW

    HPSKDVLVDGGHG 

         ,QHYDOXDWLQJWKHSURWHFWLRQVDULVLQJXQGHUWKH&ODXVH³D0HPEHUDQGKLVDLGHDUHWREH

µWUHDWHGDVRQH¶´Gravel86DW TXRWLQJUnited States v. Doe)G VW

&LU $VVXFKWKHSURWHFWLRQVDULVLQJXQGHUWKH&ODXVHPXVWDSSO\HTXDOO\DQGH[WHQGWR

VWDIIZKRSHUIRUPOHJLVODWLYHDFWLYLWLHVRQEHKDOIRIWKHUHSUHVHQWDWLYHId.$Q\WKLQJOHVVZRXOG

XQGHUPLQHWKHSULYLOHJH

          >,@W LV OLWHUDOO\ LPSRVVLEOH LQ YLHZ RI WKH FRPSOH[LWLHV RI WKH PRGHUQ OHJLVODWLYH
          SURFHVV ZLWK &RQJUHVV DOPRVW FRQVWDQWO\ LQ VHVVLRQ DQG PDWWHUV RI OHJLVODWLYH
          FRQFHUQ FRQVWDQWO\ SUROLIHUDWLQJ IRU 0HPEHUV RI &RQJUHVV WR SHUIRUP WKHLU
          OHJLVODWLYHWDVNVZLWKRXWWKHKHOSRIDLGHVDQGDVVLVWDQWVWKHGD\WRGD\ZRUN
          RIVXFKDLGHVLVVRFULWLFDOWRWKH0HPEHUV¶SHUIRUPDQFHWKDWWKH\PXVWEHWUHDWHG
          DVWKHODWWHU¶VDOWHUHJRDQGWKDWLIWKH\DUHQRWVRUHFRJQL]HGWKHFHQWUDOUROHRIWKH
          6SHHFKRU'HEDWH&ODXVH²WRSUHYHQWLQWLPLGDWLRQRIOHJLVODWRUVE\WKH([HFXWLYH
          DQGDFFRXQWDELOLW\EHIRUHDSRVVLEO\KRVWLOHMXGLFLDU\>Johnson86DW@²
          ZLOOLQHYLWDEO\EHGLPLQLVKHGDQGIUXVWUDWHG
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Gravel86DW:KLOHWKHSULYLOHJHGRHVH[WHQGWRVWDIILWQHFHVVDULO\IORZVIURPWKH

0HPEHUDQGUHPDLQVWKH0HPEHU¶VSULYLOHJHWRLQYRNHRUDOWHUQDWHO\ZDLYHId.DW QRWLQJ

WKDWWKH³SULYLOHJHDSSOLFDEOHWRWKHDLGHLVYLHZHGDVLWPXVWEHDVWKHSULYLOHJHRIWKH6HQDWRU´ 

          B.      The Speech or Debate Clause Provides for Both Immunity from Suit and a Non-
                  Disclosure Privilege

         7KH&ODXVHFRQWDLQVERWKDQLPPXQLW\FRPSRQHQWDQGDQRQGLVFORVXUHSULYLOHJHSee

Brown & Williamson Tobacco Corp. v. Williams)G '&&LU 7KH

LPPXQLW\SURWHFWLRQVKLHOGV0HPEHUVRI&RQJUHVVIURPFLYLORUFULPLQDOOLDELOLW\IRUWKHLU



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SURVHFXWRUVRUFLYLOSODLQWLIIVIURPDGYDQFLQJWKHLUFODLPVDJDLQVWD0HPEHURUDLGHE\

³>U@HYHDOLQJLQIRUPDWLRQDVWRDOHJLVODWLYHDFW´HYHQLQLQVWDQFHVZHUHD0HPEHULVSURSHUO\

VXEMHFWWRVXLWSee United States v. Helstoski86  Johnson 86DW

Fields)GDW

         ,QDGGLWLRQWKHQRQGLVFORVXUHSULYLOHJH DOVRUHIHUUHGWRDV³WHVWLPRQLDO´ IXQFWLRQV³DVD

WHVWLPRQLDODQGGRFXPHQWDU\SULYLOHJHWREHDVVHUWHGE\PHPEHUVDQGTXDOLILHGDLGHVLIWKH\DUH

FDOOHGXSRQWRSURGXFHHYLGHQFH´Fields)GDW %URZQ-FRQFXUULQJ 7KLVSULYLOHJH

H[LVWVWRWKHVDPHH[WHQWDVWKHLPPXQLW\DJDLQVWVXLWBrown & Williamson)GDW

    ³:HGRQRWSHUFHLYHDGLIIHUHQFHLQWKHYLJRUZLWKZKLFKWKHSULYLOHJHSURWHFWVDJDLQVW

FRPSHOOLQJDFRQJUHVVPDQ¶VWHVWLPRQ\DVRSSRVHGWRWKHSURWHFWLRQLWSURYLGHVDJDLQVWVXLW´ 

See also Howard v. Office of Chief Admin. Officer of U.S. House of Reps.)G

    '&&LU  ³$VDJHQHUDOPDWWHUWKH6SHHFKRU'HEDWH&ODXVHDIIRUGVWKUHHGLVWLQFW

SURWHFWLRQV D DQLPPXQLW\>IURPFHUWDLQVXLWV@ E DQHYLGHQWLDU\SULYLOHJHDQG F D

WHVWLPRQLDODQGQRQGLVFORVXUHSULYLOHJH´  LQWHUQDOFLWDWLRQVRPLWWHG 

          7KHQRQGLVFORVXUHSULYLOHJHIROORZVIURPWKH6XSUHPH&RXUW¶VHDUOLHVWFRQVLGHUDWLRQRI

WKH6SHHFKRU'HEDWHSURWHFWLRQZKHUHLQLWKHOGWKDWWKH&ODXVHVKRXOGEHUHDGEURDGO\WR

LQFOXGHQRWRQO\³ZRUGVVSRNHQLQGHEDWH´EXWDQ\WKLQJ³JHQHUDOO\GRQHLQDVHVVLRQRIWKH

+RXVHE\RQHRILWVPHPEHUVLQUHODWLRQWRWKHEXVLQHVVEHIRUHLW´Kilbourn v. Thompson

86  ,QGHHG³>G@RFXPHQWDU\HYLGHQFHFDQFHUWDLQO\EHDVUHYHDOLQJDVRUDO

FRPPXQLFDWLRQV´PDQGDWLQJWKDWWKHSULYLOHJHFRYHUVRUDOWHVWLPRQ\DQGGRFXPHQWDU\PDWHULDO

HTXDOO\Brown & Williamson)GDW




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         ,QDVHPLQDOFDVHDGGUHVVLQJWKHQRQGLVFORVXUHDVSHFWRIWKHVSHHFKRUGHEDWHSULYLOHJH

WKH'&&LUFXLWLQUnited States v. Rayburn House Office BuildingH[DPLQHGLWVFRQWRXUV

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XQHTXLYRFDOO\WKDWDQ)%,VHDUFKDQGVHL]XUHRIGRFXPHQWVDQGHQWLUHFRPSXWHUKDUGGULYHVIURP

D&RQJUHVVPDQ¶VRIILFHYLRODWHGWKHQRQGLVFORVXUHSURYLVLRQRIWKH6SHHFKRU'HEDWH&ODXVHId.

DW ³:HKROGWKDWWKHFRPSHOOHGGLVFORVXUHRISULYLOHJHGPDWHULDOVWRWKH([HFXWLYH

YLRODWHGWKH6SHHFKRU'HEDWH&ODXVH´ 7KH'&&LUFXLWWKRURXJKO\H[DPLQHGWKHKLVWRU\

DQGSXUSRVHRIWKH&ODXVHUHYLHZHGH[WHQVLYHSUHFHGHQWDQGFRQFOXGHGWKDW³>W@KHEDURQ

FRPSHOOHGGLVFORVXUHLVDEVROXWH´Id.DWBut cf. United States v. Renzi)G

    WK&LU  GHFOLQLQJWRDGRSWRayburn cert. denied86  In re Fattah

)G G&LU  GHFOLQLQJWRILQGDQRQGLVFORVXUHSULYLOHJHXQGHUWKH

&ODXVH 

         $OWKRXJKWKH6HFRQG&LUFXLWKDVQRWDGGUHVVHGWKLVLVVXHWKHRayburn IRUPXODWLRQKDV

EHHQHQGRUVHGLQWKLV'LVWULFW,QSecurities and Exchange Comm’n v. Committee on Ways and

Means of the U.S. House of Representatives, WKH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQ ³6(&´ 

VRXJKWDQRUGHUUHTXLULQJD+RXVHFRPPLWWHHDQGDIRUPHUVXEFRPPLWWHHGLUHFWRUWRFRPSO\ZLWK

LQYHVWLJDWLYHVXESRHQDV)6XSSG 6'1< $PRQJRWKHUWKLQJVWKH

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LQIRUPDWLRQVRXJKWZDVSURWHFWHGXQGHUWKH6SHHFKRU'HEDWH&ODXVHId. DW-XGJH*DUGHSKH

H[WHQVLYHO\H[DPLQHGWKHQRQGLVFORVXUHDVSHFWRIWKHSULYLOHJHDQGWKHUHOHYDQWSUHFHGHQWId.DW

 UHFRJQL]LQJWKDW³>Q@HLWKHUWKH6XSUHPH&RXUWQRUWKH6HFRQG&LUFXLWKDVDGGUHVVHG´

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$OWKRXJKUHFRJQL]LQJD&LUFXLWVSOLWWKHFRXUWDVWXWHO\FRQFOXGHG³>L@QWKLV&RXUW¶VYLHZWKH




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'&&LUFXLWKDVWKHEHWWHURIWKHDUJXPHQW´DQG³Renzi DQGIn re FattahDUHQRWSHUVXDVLYHWR

WKLV&RXUW´Id.DW see also Favors v. Cuomo)5' ('1< 

    ³>&@RXUWVKDYHLQWHUSUHWHGWKH6SHHFKRU'HEDWH&ODXVHWRSURYLGHPHPEHUVRI&RQJUHVVZLWK

DEVROXWHLPPXQLW\IURPVXLWDVZHOODVIURPFRPSHOOHGGLVFRYHU\RUWHVWLPRQ\´ Tohono

O’odham Nation v. Ducey1RFY:/DW  '$UL]-XQH 

    ³7KH&ODXVHHVWDEOLVKHVDSULYLOHJHWKDWSURWHFWVPHPEHUVRI&RQJUHVVIURPEHLQJFRPSHOOHGWR

WHVWLI\RUSURGXFHHYLGHQFHUHJDUGLQJWKHLUOHJLVODWLYHDFWLYLWLHV´  FLWLQJGravelDQGRayburn 

)XUWKHUWKHFRXUWH[SOLFLWO\UHMHFWHGD³VOLGLQJVFDOH´

          >7@KH SHUHPSWRU\ ZRUGV µVKDOO QRW¶ VXJJHVW WKDW WKH &ODXVH GRHV QRW EURRN
          FRPSURPLVHDQGWKDWWKH&ODXVHGRHVQRWRIIHUOHVVSURWHFWLRQZKHUHWKH([HFXWLYH
          %UDQFK LV LQYHVWLJDWLQJ RU SXUSRUWV WR EH LQYHVWLJDWLQJ D OHJLVODWRU¶V DOOHJHGO\
          LOOHJDODFWLYLW\WKH)UDPHUVZLVHO\DVVXPHGWKDWHDFKEUDQFKZRXOGVHHNWR
          HQFURDFK RQ WKH DXWKRULW\ DQG SRZHUV JUDQWHG WR WKH RWKHUV DQG LQWHQWLRQDOO\
          DGRSWHGDVHSDUDWLRQRISRZHUVPRGHO²RIZKLFKWKH6SHHFKRU'HEDWH&ODXVHLVD
          FULWLFDOFRPSRQHQW²WRFRXQWHUDFWVXFKHIIRUWV
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Committee on Ways and Means)6XSSGDW7KHQRQGLVFORVXUHDVSHFWRIWKH

&ODXVH¶VSURWHFWLRQLVQHFHVVDU\WRHQVXUHSURSHUIXQFWLRQLQJRIWKDW³HVVHQWLDOSUHFDXWLRQLQ

IDYRURIOLEHUW\´7KH)HGHUDOLVW1R -DPHV0DGLVRQ 

          C.      The Prosecution’s Investigation Was Furthered, In Part, on the Basis of Protected
                  Materials

          7KHJRYHUQPHQWKDVGLVFORVHGDWOHDVWWZRGR]HQZDUUDQWDSSOLFDWLRQVFRYHULQJWKHVHDUFK

DQGSURGXFWLRQRIYROXPLQRXVPDWHULDO,QFOXGHGDPRQJWKHVHDUHZDUUDQWVWKDWWKHJRYHUQPHQW

VRXJKWDQGREWDLQHG                                                                                          

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&RQJUHVVPDQ&ROOLQVVXEPLWVWKDWLWLVSDWHQWO\LPSURSHUIRUWKHJRYHUQPHQWWRVXSSRUWLWV

DSSOLFDWLRQIRUVHDUFKZDUUDQWVE\LQWUXVLRQRQSURWHFWHGOHJLVODWLYHFRPPXQLFDWLRQV

       $VLPLODUIODZXQGHUOLHVDQRWKHUZDUUDQWREWDLQHG                                    

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      $GGLWLRQDOPDWHULDOVSURGXFHGE\WKHJRYHUQPHQWLQGLFDWHWKDWL&ORXGPDWHULDOVIRU

DFFRXQWV                                                                                     


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JRYHUQPHQWVRXJKWKLVWRULFDOORFDWLRQLQIRUPDWLRQDQGRUSHQUHJLVWHULQIRUPDWLRQIRUFHOO

SKRQHVEHORQJLQJWR                                                                                           

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          7KHJRYHUQPHQWIXUWKHUKDVDFNQRZOHGJHGWKDWLWVHFXUHGLQWHUYLHZVZLWKRUJUDQGMXU\

WHVWLPRQ\RIYDULRXVPHPEHUVRI&RQJUHVVPDQ&ROOLQV¶VWDII'LVFRYHU\SURGXFWLRQVKDYH

LQFOXGHG)'VPHPRULDOL]LQJLQWHUYLHZVRI                                        6HSDUDWHO\WKH

SURVHFXWLRQKDVUHYHDOHGWKDW                         KDVEHHQLQWHUYLHZHGDVZDV                                

                                                                  KRZHYHUWKHJRYHUQPHQWKDVUHIXVHGWR

SURYLGHDQ\LQWHUYLHZQRWHVRU)'VRIWKHVHLQWHUYLHZV                                                         

                       )LQDOO\&RQJUHVVPDQ&ROOLQVKDVUHDVRQWREHOLHYHWKDWRWKHU&RQJUHVVLRQDO

VWDIIHUVZHUHLQWHUYLHZHGE\WKHJRYHUQPHQWEXWWRGDWHWKHJRYHUQPHQWKDVUHIXVHGWRHYHQ

LGHQWLI\WKRVHLQGLYLGXDOV

           1RWZLWKVWDQGLQJWKHJRYHUQPHQW¶VUHFRJQLWLRQWKDWLWZRXOGEHVHL]LQJDQGVHDUFKLQJ

WKURXJKHPDLOVE\EHWZHHQDQGDPRQJ&RQJUHVVPDQ&ROOLQVDQG&RQJUHVVLRQDOVWDIIHUVQHLWKHU

WKHDJHQWV¶DIILGDYLWVQRUWKHVHDUFKZDUUDQWDSSOLFDWLRQVPHQWLRQDVLQJOHSUHFDXWLRQWKDWWKH

JRYHUQPHQWLQWHQGHGWRLPSOHPHQWWRSUHYHQWLPSURSHUUHYLHZRISULYLOHJHGFRPPXQLFDWLRQV

,QGHHGQRWKLQJLQWKHPDWHULDOVVXJJHVWVWKDWWKHSURVHFXWLRQWHDPLQVHHNLQJZDUUDQWVHYHQ



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 7KHJRYHUQPHQWKDVUHSUHVHQWHGWKDWLWSURYLGHGLQGLVFRYHU\DOOFRPPXQLFDWLRQVIURPFXUUHQWRUIRUPHUVWDIIHUV
WKDWZHUH³SURGXFHGLQUHVSRQVHWRFRPSXOVRU\SURFHVVRULGHQWLILHGDVUHVSRQVLYHWR>D@VHDUFKZDUUDQW´
:DQJVJDUG'HFO(['DW6HSDUDWHO\WKHJRYHUQPHQWUHSUHVHQWHGWKDWLWGLGQRWREWDLQRWKHUPDWHULDOVIURP
VWDIIHUVRQDYROXQWDU\EDVLVRUE\FRQVHQVXDOVHDUFK



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DOHUWHGWKHLVVXLQJFRXUWWRWKHSRWHQWLDO6SHHFKRU'HEDWHLPSOLFDWLRQVRIWKRVHZDUUDQWVRU

LQGLFDWHGWRWKHUHYLHZLQJFRXUWLWVSODQIRUUHVSHFWLQJDQGSUHVHUYLQJWKHFRQVWLWXWLRQDO

SULYLOHJH1RWKLQJLQWKHDSSOLFDWLRQVLGHQWLILHGWKHPDQQHULQZKLFKWKHSURVHFXWLRQZRXOG

VHJUHJDWHPDWHULDOVRURWKHUZLVHDYRLGWUDPSOLQJWKH³DEVROXWH´&RQVWLWXWLRQDOSURWHFWLRQ

DIIRUGHGE\WKH&ODXVHEastland86DW)XUWKHUPRUHWKHSURVHFXWLRQLQH[SOLFDEO\

HOHFWHGWRE\SDVVWKH2IILFHRIWKH*HQHUDO&RXQVHORIWKH+RXVHRI5HSUHVHQWDWLYHVDERG\

GHVLJQHGWR³UHSUHVHQW>@0HPEHUVFRPPLWWHHVRIILFHUVDQGHPSOR\HHVLQFRQQHFWLRQZLWK

UHTXHVWVIRULQIRUPDWLRQDULVLQJIURPRUUHODWLQJWRSHUIRUPDQFHRIWKHLURIILFLDOGXWLHVDQG

UHVSRQVLELOLWLHV´See ³:HOFRPH´2IILFHRI*HQHUDO&RXQVHORIWKH8QLWHG6WDWHV+RXVHRI

5HSUHVHQWDWLYHVavailable atKWWSVRJFKRXVHJRY ODVWYLVLWHG-DQ 5XOHVRIWKH

+RXVHRI5HSUHVHQWDWLYHVRIWKH8QLWHG6WDWHV5XOH,, D  ³7KHUHLVHVWDEOLVKHGDQ2IILFHRI

*HQHUDO&RXQVHOIRUWKHSXUSRVHRISURYLGLQJOHJDODVVLVWDQFHDQGUHSUHVHQWDWLRQWRWKH+RXVH´ 

7KHUHLVOLNHZLVHQRLQGLFDWLRQWKDWWKHSURVHFXWLRQVRXJKWWRZRUNWKURXJKWKH&OHUNRIWKH

+RXVH7KHPDJQLWXGHRIWKHVHIDLOXUHVLVLQFRQFHLYDEOH

       7RWKHFRQWUDU\VXFKFRPPXQLFDWLRQVLQYROYLQJVWDIIHUVZHUHUHYLHZHGE\WKH)%,DQG

DUHVSHFLILFDOO\LGHQWLILHG²LQGHWDLO²DVWKHEDVLVIRUWKHZDUUDQWVDQGE\H[HFXWLRQWKHUHRI

IRUWKHFROOHFWLRQRIDGGLWLRQDOSULYLOHJHGPDWHULDO7KHVHLQYHVWLJDWLYHWUDQVJUHVVLRQVUXQFRXQWHU

WRWKH'HSDUWPHQWRI-XVWLFH¶VORQJVWDQGLQJUHFRJQLWLRQWKDWWKHLQLWLDOGHWHUPLQDWLRQRIWKH

6SHHFKRU'HEDWH&ODXVHDSSOLFDELOLW\LVWREHPDGHE\WKH+RXVHRU6HQDWHLWVHOI)RULQVWDQFH

WKH'HSDUWPHQWRI-XVWLFHCriminal Resource Manual UHFRJQL]HV

       >7@KHSDUDPHWHUVRIZKDWFRQVWLWXWHVDµOHJLVODWLYHDFW¶DUHTXLWHEURDG:KHQ
       HYLGHQFHHPEUDFHGE\WKLVSULYLOHJHLVLQWURGXFHG²HLWKHULQWULDORULQJUDQGMXU\
       SURFHHGLQJV²WKHHIIHFWFDQEHDVWURXEOLQJWRWKHSURVHFXWLRQDVLQWURGXFLQJWKH
       IUXLWVRIDQLOOHJDOVHDUFK
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       ,Q DGGLWLRQ ERWK WKH +RXVH DQG WKH 6HQDWH FRQVLGHU WKDW WKH 6SHHFK RU 'HEDWH
       &ODXVH JLYHV WKHP DQ LQVWLWXWLRQDO ULJKW WR UHIXVH UHTXHVWV IRU LQIRUPDWLRQ WKDW
       RULJLQDWH LQ WKH ([HFXWLYH RU WKH -XGLFLDO %UDQFKHV WKDW FRQFHUQ WKH OHJLVODWLYH
       SURFHVV7KHFXVWRPDU\SUDFWLFHZKHQVHHNLQJLQIRUPDWLRQIURPWKH/HJLVODWLYH
       %UDQFK ZKLFK LV LW QRW YROXQWDULO\ IRUWKFRPLQJ IURP D 6HQDWRU RU 0HPEHU LV WR
       URXWHWKHUHTXHVWWKURXJKWKH&OHUNRIWKH+RXVHRUWKH6HFUHWDU\RIWKH6HQDWH
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86'HS¶WRI-XVWLFH-XVWLFH0DQXDO&ULPLQDO5HVRXUFH0DQXDOavailable at

https://www.justice.gov/jm/criminal-resource-manual-2046-other-issues ODVWYLVLWHG-DQ

  FLWDWLRQVRPLWWHG )RUUHDVRQVXQNQRZQWKHSURVHFXWLRQDSSHDUVWRKDYHEODWDQWO\

GLVUHJDUGHGWKH³FXVWRPDU\DSSURDFK´GLFWDWHGE\WKH-XVWLFH0DQXDOIRUUHVSHFWLQJWKH

SURWHFWLRQVRIWKH6SHHFKRU'HEDWHSULYLOHJH

      7KHJRYHUQPHQW¶VGLVUHJDUGIRUWKHFRQVWLWXWLRQDOSURWHFWLRQVRIWKH6SHHFKRU'HEDWH

&ODXVHZDVIXUWKHUFRPSRXQGHGE\WKHPDQQHURILWVH[HFXWLRQRIWKHVHVHDUFKZDUUDQWV$IWHU

UHFHLYLQJFRSLHVRIWKHVHDUFKZDUUDQWVLQWKHFRXUVHRIGLVFRYHU\&RQJUHVVPDQ&ROOLQV

UHTXHVWHGWKDWWKHJRYHUQPHQWSURYLGH

       DQH[SODQDWLRQRIDQ\SUHFDXWLRQVZLWKUHJDUGWRSRWHQWLDOO\SULYLOHJHGGRFXPHQWV
       WDNHQ E\ WKH JRYHUQPHQW LQ UHYLHZLQJ HOHFWURQLF FRPPXQLFDWLRQV GHYLFHV DQG
       RWKHUPDWHULDOVREWDLQHGIURPRUSURGXFHGE\DQ\FXUUHQWRUIRUPHUPHPEHURI
       5HS&ROOLQV¶&RQJUHVVLRQDOVWDIILQFOXGLQJEXWQRWOLPLWHGWRWKHXVHRIDµWDLQW
       WHDP¶
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:DQJVJDUG'HFO([&7KHJRYHUQPHQWUHVSRQGHGWKDWZLWKUHVSHFWWR                                

                                       DPHPEHURIWKH86$WWRUQH\¶V2IILFHZKRZDVQRWSDUW

RIWKHSURVHFXWLRQWHDPFRQGXFWHGDQLQLWLDOUHYLHZRIWKHcomplete materialsIRUSULYLOHJHId.

(['DW)RU                             SHUVRQDOFHOOSKRQHVDparalegal²QRWDODZ\HU²

ZKRisDVVLJQHGWRWKHFDVHFRQGXFWHGWKHLQLWLDOUHYLHZId.)RURWKHUPDWHULDOVLQFOXGLQJWKH

L&ORXGDFFRXQWRI                                                                                        

WKHcomplete materialsZHUHDJDLQUHYLHZHGE\DSURVHFXWRUMXVWQRWRQHZKRLVSDUWRIWKH

SURVHFXWLRQWHDPId



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          7KHVHKDOIKHDUWHGPHDVXUHVDUHZKROO\LQDGHTXDWHDQGVWDQGLQPDUNHGFRQWUDVWWRWKH

SUHFDXWLRQVHPSOR\HGE\WKH)%,GXULQJWKHVHDUFKRI&RQJUHVVPDQ-HIIHUVRQ¶VRIILFHWKDW

IRUPHGWKHEDVLVIRUWKHRayburn GHFLVLRQ. ,QWKDWFDVHWKHSURVHFXWLRQIROORZHG³VSHFLDO

SURFHGXUHV´LQWHQGHGWRJXLGHDQGFRQILQHWKHVHDUFKSURFHVV)GDW7KHVHLQFOXGHG

     x $ZDUUDQWDIILGDYLWFRQWDLQLQJGHWDLOHGLWHPL]DWLRQRIHYLGHQFHVRXJKW
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     x $GHVFULSWLRQRIWKHJRYHUQPHQW¶VHIIRUWVWRH[KDXVWOHVVLQWUXVLYHDSSURDFKHVWRREWDLQ
        WKHGRFXPHQWV
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     x 8WLOL]DWLRQRIDVHDUFKWHDPRI)%,DJHQWVZKRKDGQRUROHLQWKHLQYHVWLJDWLRQ
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     x )RUELGGLQJWKRVHQRQFDVHDJHQWVIURPUHYHDOLQJQRQUHVSRQVLYHRUSROLWLFDOO\VHQVLWLYH
        LQIRUPDWLRQWKH\FDPHDFURVVGXULQJWKHVHDUFK
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     x 3URYLGLQJUHVSRQVLYHGRFXPHQWVWRD³ILOWHUWHDP´FRQVLVWLQJRIWZR'2-DWWRUQH\VQRWRQ
        WKHSURVHFXWLRQWHDPDQGDQRQFDVH)%,DJHQWWRGHWHUPLQHUHVSRQVLYHQHVVDQGZKHWKHU
        WKHSULYLOHJHDSSOLHG
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     x 7UDQVIHURIUHVSRQVLYHQRQSULYLOHJHGGRFXPHQWVWRWKHSURVHFXWLRQWHDPZLWKFRSLHVWR
        EHSURYLGHGWRFRXQVHOIRU&RQJUHVVPDQ-HIIHUVRQ
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     x 8VHRIDORJIRUSDSHUVSRWHQWLDOO\FRYHUHGE\WKH&ODXVHWREHSURYLGHGWRFRXQVHODQG
        QRWSURYLGHGWRWKHSURVHFXWLRQWHDPXQWLORUGHUHGE\WKHFRXUWDQG

     x 8VHRIDVSHFLDO)%,IRUHQVLFVWHDPWRGRZQORDGDOOHOHFWURQLFILOHVDQGWUDQVIHUWKHPWR
        DQ)%,IDFLOLW\IRUVHDUFKXVLQJFRXUWDSSURYHGVHDUFKWHUPVZLWKUHVSRQVLYHGDWDWXUQHG
        RYHUWRWKHILOWHUWHDPWRIROORZVLPLODUSURFHGXUHV

See id.DW(YHQVRWKHFRXUWLQRayburnIRXQGDFRQVWLWXWLRQDOYLRODWLRQREVHUYLQJWKDW

³>W@KHVSHFLDOSURFHGXUHVRXWOLQHGLQWKHZDUUDQWDIILGDYLWZRXOGQRWKDYHDYRLGHGWKHYLRODWLRQ

RIWKH6SHHFKRU'HEDWH&ODXVH´Id. DW

           +HUHQRSURFHGXUHVZHUHLGHQWLILHGWRWKHFRXUWDQGWKHVXSSRVHGILOWHUWHDPDSSDUHQWO\

FRQVLVWHGRIDQXQQDPHGQRQSURVHFXWLRQWHDPDWWRUQH\VHUYLQJLQWKHVDPHRIILFH(YHQPRUH


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 7KHSUREOHPVZLWKILOWHUWHDPVZHUHWKRXJKWIXOO\GHVFULEHGLQIn re Grand Jury Subpoenas)G WK
&LU  ³>7@DLQWWHDPVSUHVHQWLQHYLWDEOHDQGUHDVRQDEO\IRUHVHHDEOHULVNVWRSULYLOHJHIRUWKH\KDYHEHHQ
LPSOLFDWHGLQWKHSDVWLQOHDNVRIFRQILGHQWLDOLQIRUPDWLRQWRSURVHFXWRUV´ )LOWHUWHDPVDUHDOVRSURQHWRHUURUId. DW


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WURXEOLQJDSDUDOHJDOassigned to the caseKDVEHHQWDVNHGZLWKRWKHUDVSHFWVRIWKHUHYLHZ,I

WKHIDUPRUHULJRURXV³VSHFLDOSURFHGXUHV´LGHQWLILHGLQRayburnZHUHFRQVWLWXWLRQDOO\GHILFLHQW

LWQHFHVVDULO\IROORZVWKDWWKHVXEVWDQWLDOO\OHVVHUSUHFDXWLRQVFDQQRWSDVVPXVWHUId0RUHRYHU

UHYLHZRISULYLOHJHGGRFXPHQWVE\anyH[HFXWLYHDJHQWLQFOXGLQJDILOWHUWHDPPHPEHU

UHSUHVHQWVWKHW\SHRILQWUXVLRQRQWKHOHJLVODWLYHEUDQFKWKDWWKHQRQGLVFORVXUHSURQJRIWKH

6SHHFKRU'HEDWHSULYLOHJHSURKLELWV6LPSO\SXWHYHQWKHOLPLWHGUHFRUGDYDLODEOHWRGDWH

GHPRQVWUDWHVWKDWWKH&RQVWLWXWLRQDOSURWHFWLRQVRIWKH6SHHFKRU'HEDWH&ODXVHZHUHQHHGOHVVO\

LQIULQJHG

           D.          The Prosecution Relied On Speech or Debate Clause Protected Activities to Bring
                       the Charges Alleged in the Indictment

          7KHLQGLFWPHQWVHFXUHGE\WKHSURVHFXWLRQLQWKLVFDVHLQFRUSRUDWHVDVDNH\DOOHJDWLRQ

DFWLYLWLHVRFFXUULQJLQDQGLQWHUQDOWRWKH+RXVHRI5HSUHVHQWDWLYHVWRZLW

           &+5,6723+(5&2//,16WKHGHIHQGDQWGLGQRWWUDGHKLPVHOIDQGKLV,QQDWH
           VWRFNXOWLPDWHO\GHFOLQHGE\PLOOLRQVRIGROODUVLQYDOXHZKHQWKH'UXJ7ULDOUHVXOWV
           ZHUHPDGHSXEOLFRQ-XQH$V&+5,6723+(5&2//,16ZHOONQHZ
           KRZHYHUKHZDVYLUWXDOO\SUHFOXGHGIURPWUDGLQJKLVRZQVKDUHVIRUSUDFWLFDODQG
           WHFKQLFDO UHDVRQV )LUVW &+5,6723+(5 &2//,16 ZDV DOUHDG\ XQGHU
           LQYHVWLJDWLRQE\WKH2IILFHRI&RQJUHVVLRQDO(WKLFV ³2&(´ LQFRQQHFWLRQZLWKKLV
           KROGLQJVLQDQGSURPRWLRQRI,QQDWH,QGHHGKHKDGMXVWEHHQLQWHUYLHZHGE\2&(
           SHUVRQQHORQRUDERXW-XQHMXVWGD\VHDUOLHU$FFRUGLQJO\KHGLG
           QRWWUDGHKLVRZQVWRFNDQGLQVWHDGWLSSHG&$0(521&2//,16WKHGHIHQGDQW

,QGLFWPHQW(&)1R7KHSURVHFXWLRQKDVVRXJKWWRHPSKDVL]HWKLVSRLQWLQFOXGLQJ

LVVXLQJDSUHVVUHOHDVHHFKRLQJWKLVODQJXDJHSee 3UHVV5HOHDVH'HSDUWPHQWRI-XVWLFH86

$WWRUQH\¶V2IILFH6RXWKHUQ'LVWULFWRI1HZ<RUN$XJavailable at

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 7KHRQO\DSSURSULDWHSUHFDXWLRQWDNHQE\WKHJRYHUQPHQWLQWKLVLQYHVWLJDWLRQZDVWRVHJUHJDWHDVLQJOHFHOOSKRQH
VHL]HGIURPDVWDIIHUDQGDOORZ&RQJUHVVPDQ&ROOLQVWRPDNHWKHSULYLOHJHGHWHUPLQDWLRQLQWKHILUVWLQVWDQFHSee
Rayburn)GDW FULWLFL]LQJSURFHGXUHVWKDWFDOOIRUUHYLHZE\WKH([HFXWLYH³EHIRUHWKH&RQJUHVVPDQ
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manhattan-federal-court-insider ODVWYLVLWHG-DQ  ³)RUH[DPSOH&+5,6723+(5

&2//,16ZDVDOUHDG\XQGHULQYHVWLJDWLRQE\WKH2IILFHRI&RQJUHVVLRQDO(WKLFV ³2&(´ LQ

FRQQHFWLRQZLWKKLVKROGLQJVLQDQGSURPRWLRQRI,QQDWH,QGHHGKHKDGEHHQLQWHUYLHZHGE\

2&(SHUVRQQHORQRUDERXW-XQHMXVWGD\VHDUOLHU$FFRUGLQJO\KHGLGQRWWUDGHKLV

RZQVWRFNDQGLQVWHDGWLSSHG&$0(521&2//,16´ 1RWVDWLVILHGZLWKWKHLQGLFWPHQWDQG

WKHSUHVVUHOHDVHWKHJRYHUQPHQWDOVRKHOGDSUHVVFRQIHUHQFHWRPXFKIDQIDUHGXULQJZKLFK86

$WWRUQH\*HRIIUH\%HUPDQDVVHUWHG³>W@KH&RQJUHVVPDQNQHZKHFRXOGQ¶WVHOOKLVRZQVKDUHV

IRUSHUVRQDODQGWHFKQLFDOUHDVRQVLQFOXGLQJWKDWKHZDVDOUHDG\XQGHULQYHVWLJDWLRQUHJDUGLQJ

,QQDWHE\WKH&RQJUHVVLRQDO(WKLFV2IILFH>VLF@´See 'HSDUWPHQWRI-XVWLFH86$WWRUQH\¶V

2IILFH6RXWKHUQ'LVWULFWRI1HZ<RUN³&RQJUHVVPDQ&KULVWRSKHU&ROOLQV&KDUJHGZLWK,QVLGHU

7UDGLQJ /\LQJWR)HGHUDO/DZ(QIRUFHPHQW´available at https://www.justice.gov/usao-

sdny/video/congressman-christopher-collins-charged-insider-trading-lying-federal-law ODVW

YLVLWHG-DQ ,WLVFOHDUWKDWWKHJRYHUQPHQWKDVGHHPHGWKLVDOOHJDWLRQVXIILFLHQWO\

LPSRUWDQWWRZDUUDQWUHSHDWHGDQGSXEOLFL]HGKHUDOGLQJ

               1.      OCE Testimony and Proceedings Fall Squarely Under Protections of the
                       Speech or Debate Clause

       $VDFRUROODU\WRWKHDEVROXWHLPPXQLW\IRUFHUWDLQOHJLVODWLYHDFWVSURYLGHGLQWKH6SHHFK

RU'HEDWH&ODXVHWKH&RQVWLWXWLRQSURYLGHV&RQJUHVVZLWKWKHDXWKRULW\WRGLVFLSOLQHLWV

PHPEHUV 86&RQVWDUW,FO HPSRZHULQJ³>H@DFK+RXVH>WR@SXQLVKLWV0HPEHUV

IRUGLVRUGHUO\%HKDYLRXU´  WKH³'LVFLSOLQH&ODXVH´ 3XWDQRWKHUZD\WKH&RQVWLWXWLRQ

PDQGDWHVDIRUPXODE\ZKLFKWKH/HJLVODWXUHLVUHVSRQVLEOHIRUSROLFLQJLWVRZQKRXVHDQG

([HFXWLYHLQWUXVLRQWKHUHXSRQLVSURKLELWHG7KLVULJKWWRGLVFLSOLQHLVE\WKHYHU\WH[WRIWKH

GRFXPHQWRQHRIWKHPDWWHUVµ³ZKLFKWKH&RQVWLWXWLRQSODFHVZLWKLQWKHMXULVGLFWLRQRIHLWKHU



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DQGLWLVHYLGHQWWKDW³WHVWLPRQ\EHIRUHWKH(WKLFV&RPPLWWHHLVSURWHFWHGE\WKH6SHHFKRU

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WKHUHIRUHSULYLOHJHG´ Ray v. Proxmire)G '&&LU  6HQDWRULPPXQH

IURPOLDELOLW\IRUDOOHJHGO\OLEHORXVVWDWHPHQWPDGHLQOHWWHUVXEPLWWHGWR6HQDWH6HOHFW

&RPPLWWHHRQ6WDQGDUGVDQG&RQGXFW 

          -XVWLFH.DYDQDXJKWKHQRQWKH&RXUWRI$SSHDOVIRUWKH'&&LUFXLWH[SODLQHGWKDWWKH

LQWHUVHFWLRQEHWZHHQWKH'LVFLSOLQH&ODXVHDQGWKH6SHHFKRU'HEDWH&ODXVHVTXDUHO\SODFHV

0HPEHUV¶VWDWHPHQWVWRFRQJUHVVLRQDOHWKLFVFRPPLWWHHVZLWKLQWKHDPELWRIWKHSURWHFWLRQ

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    .DYDQDXJK-FRQFXUULQJ  ³5HJDUGOHVVZKHWKHUWKH0HPEHU¶VXQGHUO\LQJµGLVRUGHUO\

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RIILFLDOµ3URFHHGLQJV¶RIWKH+RXVHRU6HQDWH$QGD0HPEHU¶VVSHHFKLQVXFKDQRIILFLDO

FRQJUHVVLRQDOSURFHHGLQJFRQVWLWXWHVµ6SHHFKLQHLWKHU+RXVH´ 7KHQ-XGJH.DYDQDXJKDOVR

WRRNLVVXHZLWKWKHUHVXOWUHDFKHGE\DSULRUSDQHORIWKH'&&LUFXLWLQUnited States v. Rose

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QRWSURWHFWHGE\WKH6SHHFKRU'HEDWH&ODXVHEHFDXVH&RQJUHVVPDQ5RVHZDVDZLWQHVVWRIDFWV

UHOHYDQWWRDQLQYHVWLJDWLRQRIZKROO\SULYDWHFRQGXFWUDWKHUWKDQRIDQ\RIILFLDODFWVId.DW

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          ,QDQ\HYHQWWKHRoseGHFLVLRQLVLQDSSOLFDEOHKHUHEHFDXVHWKH2&(UHYLHZDQG

&RQJUHVVPDQ&ROOLQV¶WHVWLPRQ\FRQFHUQHGinter aliaHUURQHRXVDOOHJDWLRQVWKDWKHUHFHLYHG

IDYRUDEOHWUHDWPHQWEDVHGRQKLVVWDWXVDVD0HPEHUDQGWKDWKHWRRNRIILFLDODFWLRQVWRDVVLVWD

SULYDWHHQWHUSULVH7KHVHDVSHFWVRIWKHLQYHVWLJDWLRQLQFOXGHLQTXLU\LQWRZKHWKHUKHYLRODWHG

+RXVH5XOHVDQGVWDQGDUGVRIFRQGXFWDTXHVWLRQIXQGDPHQWDOO\IDOOLQJXQGHUWKH'LVFLSOLQH

&ODXVH0RUHRYHULQRangel v. Boehner'&'LVWULFW&RXUW-XGJH%DWHVFLWHGZLWKDSSURYDO

-XVWLFH.DYDQDXJK¶VGrand Jury Subpoena FRQFXUUHQFHLQKROGLQJWKDW³'LVFLSOLQH&ODXVH

DFWLYLWLHVDUHSODLQO\ZLWKLQ>WKHOHJLVODWLYH@VSKHUH´)6XSSG ''& 

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±DµOHJLVODWLYH¶PDWWHUWKDWWKHµ&RQVWLWXWLRQSODFHVZLWKWKHMXULVGLFWLRQRI>WKH@+RXVH´ 

    FLWDWLRQVRPLWWHG -XGJH%DWHVIXOO\UHFRJQL]HGWKHLPSRUWRI-XGJH.DYDQDXJK¶VFRQFXUUHQFH

DQGUHSXGLDWLRQRIRoseDQGKLVRSLQLRQZDVWKHUHDIWHUDIILUPHGE\WKH&LUFXLWSDQHO

          %HFDXVHWKH2&(WHVWLPRQ\ZDVSULYLOHJHGWKHLQGLFWPHQWWKHSUHVVUHOHDVHandWKH

SUHVVFRQIHUHQFHHDFKHYLQFHDQDGGLWLRQDO&RQVWLWXWLRQDOYLRODWLRQGHOLEHUDWHLQIXVLRQRI

SURWHFWHG6SHHFKRU'HEDWHE\WKH([HFXWLYHLQWRDSURVHFXWLRQLQYROYLQJD0HPEHURIWKH

+RXVHRI5HSUHVHQWDWLYHV

                 2.      Prior “Publication” of the Testimony Has no Part in the Calculus

          /LNHZLVHWKHIDFWWKDWWKH2&(LQYHVWLJDWLRQZDVSXEOLFLVRIQRFRQVHTXHQFH$Q\

VXJJHVWLRQWRWKHFRQWUDU\ZRXOGPLVFRQVWUXHWKHSXUSRVHDQGHIIHFWRIWKH6SHHFKRU'HEDWH

SULYLOHJH3XEOLFDWLRQFDQQRWHIIHFWDQ\VRUWRIZDLYHUDVLQGHHGWKH³FRUHDFWLYLW\SURWHFWHGE\

WKH&ODXVHLVDSXEOLFDFW´Rayburn)GDW0XFKVSHHFKRUGHEDWHE\0HPEHUVLV

DPDWWHURISXEOLFUHFRUGWKURXJKWKHPHGLD HJ&63$1 RURWKHUZLVHDVLWPXVWEHSee 86


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WLPHSXEOLVKWKHVDPH´ $EVROXWHSURWHFWLRQRIVXFKKLJKO\SXEOLFDFWVLVWKHSUHFLVH

SXUSRVHRIWKH&ODXVHSee, e.g., Doe86DW ³'RXEWOHVVDOVRDSXEOLVKHGUHSRUWPD\

ZLWKRXWORVLQJ6SHHFKRU'HEDWH&ODXVHSURWHFWLRQEHGLVWULEXWHGWRDQGXVHGIRUOHJLVODWLYH

SXUSRVHV´ United States v. Helstoski)G G&LU  VWDWLQJWKDWWR

³DOORZSURRIRIOHJLVODWLYHDFWV´³E\SURGXFLQJQRQSULYLOHJHGHYLGHQFHFRQWDLQLQJVRPH

UHIHUHQFHWRWKDWDFWZRXOGUHGXFHGUDVWLFDOO\WKHHIIHFWLYHQHVVRIWKH6SHHFKRU'HEDWH

SURYLVLRQDQGZRXOGGLVFRXUDJHWKHGLVVHPLQDWLRQWRWKHSXEOLFRILQIRUPDWLRQDERXWOHJLVODWLYH

DFWLYLWLHV´ United States v. Swindall)GQ WK&LU  WKHIDFW

WKDWDOHJLVODWLYHDFWLVPHPRULDOL]HGLQDSXEOLFUHFRUGGRHVQRWVLGHVWHSWKH6SHHFKRU'HEDWH

LVVXHDQGD0HPEHU¶VOHJLVODWLYHDFWVDUHSURWHFWHGZKHWKHURUQRWWKH\DUHSXEOLVKHG 

       E.      The Constitutional Violations Give Rise to Grave Concerns

       ,QOLJKWRIWKHIRUHJRLQJLWDSSHDUVWKDWWKHJRYHUQPHQWUHOLHGRQ6SHHFKRU'HEDWH

SURWHFWHGDFWLYLWLHVLQSXUVXLQJDQGFKDUJLQJWKLVFDVH%\GHILQLWLRQLQIRUPDWLRQLQFOXGHGLQDQ

LQGLFWPHQWPXVWEHRQO\³HVVHQWLDOIDFWV´See )HG5&ULP3 F   ³7KHLQGLFWPHQWRU

LQIRUPDWLRQPXVWEHDSODLQFRQFLVHDQGGHILQLWHZULWWHQVWDWHPHQWRIWKHHVVHQWLDOIDFWV

FRQVWLWXWLQJWKHRIIHQVHFKDUJHG´ 7KHJRYHUQPHQW¶VSULPDU\FKDUJHLVFRQVSLUDF\WR

FRPPLWVHFXULWLHVIUDXG &RXQW2QH See (&)1R,WZRXOGDSSHDUWKDWWKHFRQVFLRXVGHFLVLRQ

WRLQMHFWSURWHFWHGPDWHULDOVLQWRWKHSURVHFXWLRQLVIRUWKHSXUSRVHRIVWUDLQLQJWRDOOHJHPRWLYH

DQGWKHSXUSRVHRIWKHFRQVSLUDF\QDPHO\WKHIODZHGSUHPLVHWKDWEHFDXVH&RQJUHVVPDQ

&ROOLQVFRXOGQRWWUDGHKLPVHOI EHFDXVHRIWKH2&(SURFHHGLQJ KHDOOHJHGO\WLSSHGKLVVRQ%\

GRLQJVRWKHSURVHFXWLRQKDVLPSURSHUO\PDGHSULYLOHJHGPDWHULDOVDSLOODURILWVWKHRU\RIWKH

FDVHSee Helstoski86DW UHMHFWLQJRXWULJKWWKHJRYHUQPHQW¶VFRQWHQWLRQWKDW

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LOOHJDOEXWLVRIIHUHGRQO\WRVKRZPRWLYHVXFKDVEHKDYLRULQIXUWKHUDQFHRIDEULEH´  FLWLQJ

Helstoski86DWBrewster86DWJohnson86DW 

        &RQVHTXHQWO\WKHUHLVVLJQLILFDQWUHDVRQIRUSDXVHDQGFDXVHIRUFRQFHUQDERXWWDLQWZLWK

UHVSHFWWRWKHLQYHVWLJDWLRQDQGJUDQGMXU\SURFHHGLQJV$OWKRXJKYLRODWLRQVNQRZQWRWKH

&RQJUHVVPDQ&ROOLQVKDYHEHHQGHWDLOHGWKHREYLRXVFRUROODU\TXHVWLRQUHPDLQVMXVWKRZIDU

GRHVLWJR",WLVLQWKLVFRQWH[WWKDW&RQJUHVVPDQ&ROOLQVVHHNVWKHUHTXHVWHGUHOLHI

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        ,QVKRUWWKHUHOLHIWKDW&RQJUHVVPDQ&ROOLQVUHTXHVWVLVDQRUGHUPDQGDWLQJWKDWWKH

JRYHUQPHQWSURGXFHGLVFUHWHFDWHJRULHVRILQIRUPDWLRQDVGHWDLOHGEHORZ(DFKGLUHFWO\

LPSOLFDWHVWKH([HFXWLYHLQWUXVLRQLQWROHJLVODWLYHDFWVGHVFULEHGKHUHLQLHFROOHFWLRQRI

PDWHULDOVIURP&RQJUHVVLRQDOVWDIIZLWKQRUHJDUGWRSURWHFWLQJDQGSUHVHUYLQJWKHSULYLOHJHDQG

LQMHFWLRQRIWKH&RQJUHVVLRQDO(WKLFVLQTXLU\LQWRWKHSURVHFXWLRQRIWKLVFDVH'LVFRYHU\RIWKLV

LQIRUPDWLRQDWWKLVWLPHLVDQHFHVVDU\SUHUHTXLVLWHIRUWKH&RQJUHVVPDQWREHSXWLQWRDSRVLWLRQ

LQZKLFKKHFDQHIIHFWLYHO\ILOHVXEVWDQWLYHPRWLRQVWRVXSSUHVVDQGWRVHHNDQGREWDLQIXUWKHU

UHOLHIVXIILFLHQWO\LQDGYDQFHRIWULDODVUHTXLUHGE\WKLV&RXUW

        A.      An Order Mandating Production is Warranted by the Government’s Refusal to
                Produce Information Necessary to Enable Congressman Collins to File Effective
                Motions Regarding Speech or Debate Violations

        $VGLVFXVVHGDERYHFRXQVHOIRU&RQJUHVVPDQ&ROOLQVKDVEHHQLQIUHTXHQWFRQWDFWZLWK

WKHSURVHFXWLRQWHDPLQFOXGLQJZLWKUHVSHFWWRWKHYHU\6SHHFKRU'HEDWHFRQFHUQVGHWDLOHG

KHUHLQ7RWKDWHQGRQ'HFHPEHUFRXQVHOUHTXHVWHGWKHIROORZLQJWDLORUHGFDWHJRULHVRI

PDWHULDOXQGHU)HG5&ULP3DQGWRHQDEOHFRXQVHOWRGHWHUPLQHWKHH[WHQWRIDQ\




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YLRODWLRQVRIWKH6SHHFKRU'HEDWH&ODXVHDQGZKHWKHUWKHLQYHVWLJDWLYHWHDPVRUWKHJUDQGMXU\

ZHUHIXUWKHUWDLQWHGE\UHYLHZLQJDGGLWLRQDOSURWHFWHGPDWHULDO

      WKHHQWLUHFRQWHQWVRIDQ\PDWHULDOVRUGHYLFHVREWDLQHGIURPRUSURGXFHGE\DQ\FXUUHQW
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      DQ\PDWHULDOVSURYLGHGRUVKRZQWRWKHJUDQGMXU\UHODWHGWRDQ\LQYHVWLJDWLRQE\WKH86
         +RXVHRI5HSUHVHQWDWLYHV2IILFHRI&RQJUHVVLRQDO(WKLFVRU&RPPLWWHHRQ(WKLFVUHODWLQJ
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      WUDQVFULSWVRIDQ\JUDQGMXU\WHVWLPRQ\UHIHUHQFLQJRUUHODWLQJWRDQ\LQYHVWLJDWLRQE\WKH
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      DQ\FRPPXQLFDWLRQVZKHUHLQDQ\PHPEHURUIRUPHUPHPEHURI5HS&ROOLQV¶VWDII
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also United States v. Valona)G WK&LU  'LVWULFWFRXUWVKDYHZLGH

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³QHFHVVDU\WRPDNHDQDFFXUDWHGHWHUPLQDWLRQRIWKHOHJDOLW\RIWKHVXUYHLOODQFH´ See also

United States v. Green)5' :'1<  ³'HIHQVHFRXQVHOKDYHLQGLFDWHG

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       'LVFORVXUHLVDOVRDSSURSULDWHDVWKHQDWXUHDQGVFRSHRIDQ\YLRODWLRQVZLOOLPSDFWWKH

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